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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-1372V
                                          UNPUBLISHED


    KARLEEN WITT,                                               Chief Special Master Corcoran

                         Petitioner,                            Filed: August 19, 2020
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Guillain-
                                                                Barre Syndrome (GBS)
                         Respondent.


Randall G. Knutson, Knutson & Casey Law Firm, Mankato, MN, for Petitioner.

Voris Edward Johnson, U.S. Department of Justice, Washington, DC, for Respondent.

                                 DECISION AWARDING DAMAGES1

       On September 10, 2019, Karleen Witt filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered Guillain-Barré syndrome (“GBS”) as a
result of an influenza (“flu”) vaccine she received on November 7, 2016. Petition at 1.
Petitioner further alleges that she suffered the residual effects of her injury for more than
six months. Petition at 4. The case was assigned to the Special Processing Unit of the
Office of Special Masters.

      On June 29, 2020, a ruling on entitlement was issued, finding Petitioner entitled to
compensation for GBS. On August 19, 2020, Respondent filed a proffer on award of
compensation (“Proffer”) indicating Petitioner should be awarded a lump sum of
$80,078.00 (consisting of $80,000.00 for pain and suffering and $78.00 in past
unreimbursed expenses), and a lump sum of $61,040.57 for satisfaction of a Medicaid

1
   Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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lien. Proffer at 1. In the Proffer, Respondent represented that Petitioner agrees with the
proffered award. Id. Based on the record as a whole, I find that Petitioner is entitled to an
award as stated in the Proffer.

        Pursuant to the terms stated in the attached Proffer, I award Petitioner:

    (1) A lump sum payment of $80,078.00 (consisting of $80,000.00 for pain and
       suffering and $78.00 in past unreimbursed expenses) in the form of a check
       payable to Petitioner, and

    (2) A lump sum payment of $61,040.57, in the form of a check made payable
        jointly to Petitioner and:

                                    HealthPartners
                                   Mail Stop 21114a
                                     P.O. Box 1309
                              Minneapolis, MN 55440-1309
             Attn: Christopher A. Seipel, Subrogation Recoveries Manager
                          Re: Karleen Witt, Case No. 20201834

       These amounts represent compensation for all damages that would be available
under § 15(a). The clerk of the court is directed to enter judgment in accordance with this
decision.3

        IT IS SO ORDERED.


                                                 s/Brian H. Corcoran
                                                 Brian H. Corcoran
                                                 Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                    2
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             IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS
__________________________________________
                                           )
KARLEEN WITT,                              )
                                           )
                  Petitioner,              )
                                          )   No. 19-1372V (ECF)
v.                                        )   Chief Special Master Corcoran
                                          )
SECRETARY OF HEALTH                       )
AND HUMAN SERVICES,                       )
                                          )
                  Respondent.             )
__________________________________________)

                  RESPONDENT’S PROFFER ON AWARD OF DAMAGES

         On June 29, 2020, respondent, the Secretary of Health and Human Services, filed his

Rule 4(c) Report conceding entitlement to compensation in this matter alleging the Table injury

Guillain-Barré syndrome (“GBS”) following an influenza vaccination. The same day, the Court

entered its Ruling on Entitlement, finding petitioner Karleen Witt entitled to Vaccine Act

compensation. Respondent now proffers that petitioner receive a compensation award consisting

of a lump sum of $80,078.00, consisting of $80,000.00 for pain and suffering and $78.00 in past

unreimbursed expenses, in the form of a check payable to petitioner, Karleen Witt, 1 plus

satisfaction of a Medicaid lien in the amount of $61,040.57, in the form of a check made payable

jointly to petitioner 2 and:

                                          HealthPartners
                                         Mail Stop 21114a
                                          P.O. Box 1309
                                   Minneapolis, MN 55440-1309
                   Attn: Christopher A. Seipel, Subrogation Recoveries Manager
                               Re: Karleen Witt, Case No. 20201834


1
    Petitioner is a competent adult. No guardianship is required.
2
    Petitioner agrees to endorse this check over to HealthPartners.
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These amounts represent compensation for all elements of compensation under 42 U.S.C.

§ 300aa-15(a) to which petitioner is entitled. 3

       Petitioner agrees with the proffered award of $80,078.00, plus satisfaction of the

Medicaid lien in the amount of $61,040.57. 4

                                                       Respectfully submitted,

                                                       ETHAN P. DAVIS
                                                       Acting Assistant Attorney General

                                                       C. SALVATORE D’ALESSIO
                                                       Acting Director
                                                       Torts Branch, Civil Division

                                                       CATHARINE E. REEVES
                                                       Deputy Director
                                                       Torts Branch, Civil Division

                                                       ALEXIS B. BABCOCK
                                                       Assistant Director
                                                       Torts Branch, Civil Division

                                                       s/Voris E. Johnson, Jr.
                                                       VORIS E. JOHNSON, JR.
                                                       Senior Trial Attorney
                                                       Torts Branch, Civil Division
                                                       U.S. Department of Justice
                                                       P.O. Box 146
                                                       Ben Franklin Station
                                                       Washington, D.C. 20044-0146
                                                       Direct dial: (202) 616-4136

Dated: August 19, 2020




3
  Should petitioner die prior to entry of judgment, respondent would oppose any award for
future medical expenses, future lost earnings, and future pain and suffering, and the parties
reserve the right to move the Court for appropriate relief.
4
  This proffer does not include any award for attorneys’ fees and costs that may be awarded
pursuant to 42 U.S.C. § 300aa-15(e).

                                                   2
